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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


                 NOTICE OF ELIGIBILITY FOR VIDEO RECORDING


       This case is assigned to a judge who participates in the Cameras in the Courtroom Pilot
Project. See General Order 65 and cand.uscourts.gov/cameras. The parties’ consent is required
before any proceedings in this case may be recorded. If a party, the presiding judge, or a member
of the media requests that a proceeding be recorded, consent of the parties will be presumed
unless a party submits an Objection to Request for Video Recording form as directed by the
Cameras in the Courtroom Procedures.


       Parties objecting to video recording are asked, for research purposes, to communicate to
the Court the reasons for declining to participate. If you decline to participate, you should
candidly convey the reasons for your decision. Whether you agree to participate or decline to
participate will have no effect on your case whatsoever.




                                                      Clerk, Clerk of Court
